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                                                  WARNING
                                                 AVERTISSEMENT


   Identity and address of the addressee
   Identité et adresse du destinataire
  Cambium Networks, Ltd, at Unit B2 Linhay Business Park, Eastern Road,
  Ashburton, Newton Abbot, Devon, TQ13 7UP, ENGLAND

                                                      IMPORTANT

  THE ENCLOSED DOCUMENT IS OF A LEGAL NATURE AND MAY AFFECT YOUR RIGHTS AND
  OBLIGATIONS. THE ‘SUMMARY OF THE DOCUMENT TO BE SERVED’ WILL GIVE YOU SOME
  INFORMATION ABOUT ITS NATURE AND PURPOSE. YOU SHOULD HOWEVER READ THE
  DOCUMENT ITSELF CAREFULLY. IT MAY BE NECESSARY TO SEEK LEGAL ADVICE.

  IF YOUR FINANCIAL RESOURCES ARE INSUFFICIENT YOU SHOULD SEEK INFORMATION ON
  THE POSSIBILITY OF OBTAINING LEGAL AID OR ADVICE EITHER IN THE COUNTRY WHERE
  YOU LIVE OR IN THE COUNTRY WHERE THE DOCUMENT WAS ISSUED.

  ENQUIRIES ABOUT THE AVAILABILITY OF LEGAL AID OR ADVICE IN THE COUNTRY WHERE
  THE DOCUMENT WAS ISSUED MAY BE DIRECTED TO:


                                                   TRÈS IMPORTANT

  LE DOCUMENT CI-JOINT EST DE NATURE JURIDIQUE ET PEUT AFFECTER VOS DROITS ET OBLIGATIONS.
  LES « ÉLÉMENTS ESSENTIELS DE L’ACTE » VOUS DONNENT QUELQUES INFORMATIONS SUR SA NATURE
  ET SON OBJET. IL EST TOUTEFOIS INDISPENSABLE DE LIRE ATTENTIVEMENT LE TEXTE MÊME DU
  DOCUMENT. IL PEUT ÊTRE NÉCESSAIRE DE DEMANDER UN AVIS JURIDIQUE.

  SI VOS RESSOURCES SONT INSUFFISANTES, RENSEIGNEZ-VOUS SUR LA POSSIBILITÉ D’OBTENIR
  L’ASSISTANCE JUDICIAIRE ET LA CONSULTATION JURIDIQUE, SOIT DANS VOTRE PAYS, SOIT DANS LE
  PAYS D’ORIGINE DU DOCUMENT.

  LES DEMANDES DE RENSEIGNEMENTS SUR LES POSSIBILITÉS D’OBTENIR L’ASSISTANCE JUDICIAIRE OU
  LA CONSULTATION JURIDIQUE DANS LE PAYS D’ORIGINE DU DOCUMENT PEUVENT ÊTRE ADRESSÉES À :


  The Law Society of England and Wales
  The Law Society's Hall, 113 Chancery Lane, London WC2A 1PL, ENGLAND


  It is recommended that the standard terms in the notice be written in English and French and
  where appropriate also in the official language, or in one of the official languages of the State in
  which the document originated. The blanks could be completed either in the language of the
  State to which the document is to be sent, or in English or French.

  Il est recommandé que les mentions imprimées dans cette note soient rédigées en langue française et en langue
  anglaise et le cas échéant, en outre, dans la langue ou l’une des langues officielles de l’État d’origine de l’acte. Les
  blancs pourraient être remplis, soit dans la langue de l’État où le document doit être adressé, soit en langue
  française, soit en langue anglaise.




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              SUMMARY OF THE DOCUMENT TO BE SERVED
                                                ÉLÉMENTS ESSENTIELS DE L’ACTE


             Convention on the Service Abroad of Judicial and Extrajudicial Documents in
  Civil or Commercial Matters, signed at The Hague, the 15th of November 1965 (Article 5, fourth
                                           paragraph).
                    Convention relative à la signification et à la notification à l’étranger des actes judiciaires ou
                    extrajudiciaires en matière civile ou commerciale, signée à La Haye le 15 novembre 1965
                                                          (article 5, alinéa 4).

   Name and address of the requesting authority:                                      Morgan Lewis & Bockius LLP
   Nom et adresse de l’autorité requérante :                                          77 West Wacker Drive, Chicago, IL, 60601-5094, USA
                                                                                      Elizabeth B. Herrington
                                                                                      Tel: +1 (312) 324-1000
                                                                                      beth.herrington@morganlewis.com

   Particulars of the parties*:
   Identité des parties* :
                                                                                      n/a

    * If appropriate, identity and address of the person interested in the transmission of the document
      S’il y a lieu, identité et adresse de la personne intéressée à la transmission de l’acte



         JUDICIAL DOCUMENT**
         ACTE JUDICIAIRE**


   Nature and purpose of the document:                                              1. Complaint filed 7 August 2018, with Exhibits A to F;
   Nature et objet de l’acte :                                                      2. Notice of Mandatory Initial Discovery filed 8 August 2018;
                                                                                    3. Standing Order Regarding Mandatory Initial Discovery Pilot Project;
                                                                                    4. Mandatory Initial Discovery Pilot Project Checklist; and
                                                                                    5. Summons dated 10 August 2018.
   Nature and purpose of the proceedings and,
   when appropriate, the amount in dispute:
                                                                                    Complaint for injunctive relief and
   Nature et objet de l’instance, le cas échéant, le montant                        damages against the defendants.
   du litige :
   Date and Place for entering appearance**:
   Date et lieu de la comparution** :                                               n/a


   Court which has given judgment**:
   Juridiction qui a rendu la décision** :                                          n/a

   Date of judgment**:
   Date de la décision** :                                                          n/a


   Time limits stated in the document**:                                            Cambium Networks Ltd to serve an answer to the
   Indication des délais figurant dans l’acte** :                                   Complaint upon the Plaintiff's Attorney 21 days
                                                                                    after service of the Summons upon Cambium
                                                                                    Networks Ltd.
    ** if appropriate / s’il y a lieu


         EXTRAJUDICIAL DOCUMENT**
         ACTE EXTRAJUDICIAIRE**


   Nature and purpose of the document:
   Nature et objet de l’acte :                                                      n/a

   Time-limits stated in the document**:
   Indication des délais figurant dans l’acte** :
                                                                                    n/a


    ** if appropriate / s’il y a lieu




Permanent Bureau July 2017
